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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               CR No. 2:21-CR-00579-JAK

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [18 U.S.C. § 1955: Operating an
                                             Illegal Gambling Business; 31
13   MATTHEW FUNKE,                          U.S.C. §§ 5363, 5366: Acceptance
                                             of a Financial Instrument for
14             Defendant.                    Unlawful Internet Gambling; 18
                                             U.S.C. § 1955(d), 28 U.S.C.
15                                           § 246l(c): Criminal Forfeiture]
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18        The United States Attorney charges:
19                                     COUNT ONE
20                                [18 U.S.C. § 1955]
21        Beginning on an unknown date and continuing through on or about
22   February 7, 2020, in Los Angeles and Orange Counties, within the
23   Central District of California, and elsewhere, defendant MATTHEW
24   FUNKE conducted, financed, managed, supervised, directed, and owned
25   an illegal gambling business, specifically, a bookmaking business
26   involving taking bets on the outcomes of sporting events at agreed-
27   upon odds in violation of California Penal Code Section 337a, which
28   business involved at least five persons who conducted, financed,
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 1   managed, supervised, directed, and owned all or part of the business;

 2   had been in substantially continuous operation by at least five

 3   persons for a period in excess of thirty days; and had gross revenue

 4   of more than $2,000 in a single day.

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 1                                     COUNT TWO

 2                            [31 U.S.C. §§ 5363, 5366]

 3        On or about October 7, 2019, in Los Angeles County, within the

 4   Central District of California, defendant MATTHEW FUNKE, a person

 5   engaged in the business of betting and wagering, knowingly accepted

 6   an electronic funds transfer from and on behalf of L.P., in

 7   connection with the participation of L.P. in unlawful Internet

 8   gambling, namely, gambling through SandIslandSports.com in violation

 9   of California Penal Code Section 337a.

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 1                              FORFEITURE ALLEGATION

 2                [18 U.S.C. § 1955(d) and 28 U.S.C. § 2461(c)]

 3        1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 1955(d) and Title 28, United States Code,

 7   Section 2461(c), in the event of defendant MATTHEW FUNKE’s conviction

 8   of the offense set forth in Count One of this information.

 9        2.   The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11             (a)   Any property, including money, used in such offense,

12   and any property traceable to such property; and

13             (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16        3.   Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 18, United States Code, Section 982(b)(1),

18   and Title 18, United States Code, Section 982(b)(2), the defendant,

19   if so convicted, shall forfeit substitute property, if, by any act or

20   omission of the defendant, the property described in the preceding

21   paragraph, or any portion thereof: (a) cannot be located upon the

22   exercise of due diligence; (b) has been transferred, sold to, or

23   deposited with a third party; (c) has been placed beyond the

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 1   jurisdiction of the court; (d) has been substantially diminished in

 2   value; or (e) has been commingled with other property that cannot be

 3   divided without difficulty.

 4                                         TRACY L. WILKISON
                                           United States Attorney
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 7                                         SCOTT M. GARRINGER
                                           Assistant United States Attorney
 8                                         Chief, Criminal Division
 9                                         RANEE A. KATZENSTEIN
                                           Assistant United States Attorney
10                                         Chief, Major Frauds Section
11                                         MONICA E. TAIT
                                           Assistant United States Attorney
12                                         Deputy Chief, Major Frauds Section
13                                         JEFF MITCHELL
                                           Assistant United States Attorney
14                                         Major Frauds Section
15                                         DAN G. BOYLE
                                           Assistant United States Attorney
16                                         Asset Forfeiture Section
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